                Case 22-11037-pmm                      Doc 14         Filed 05/13/22 Entered 05/13/22 15:37:52      Desc Main
                                                                     Document      Page 1 of 1




                                             IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                 IN RE: Tina Strack                                                         CHAPTER 13
                                                              Debtor(s)
                                                                                            BKY. NO. 22-11037 ELF


                                        ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                   To the Clerk:

                       Kindly enter my appearance on behalf of PENNSYLVANIA HOUSING FINANCE
                   AGENCY and index same on the master mailing list.


                                                                                        Respectfully submitted,


                                                                                /s/${s:1:y:_________________________}
                                                                                 Rebecca Solarz
                                                                                 13 May 2022, 12:27:42, EDT



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